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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

O2COOL LLC,                                  :
                                             :
             Plaintiff,                      :
                                             :      Civil Action No.
v.                                           :      1:16-cv-03200-ELR-JCF
                                             :
ONE WORLD TECHNOLOGIES, INC.                 :
and TECHTRONIC INDUSTRIES                    :
NORTH AMERICA, INC.,                         :
                                             :
             Defendants.                     :

                                     ORDER

      This case is before the Court on the Motion To Compel A Complete

Response To The Subpoena Directed To The Home Depot filed by O2Cool LLC

(“O2Cool or “Plaintiff”) (Doc. 1). For the reasons discussed below, the Court

DENIES O2Cool’s motion (Doc. 1).

              BACKGROUND AND PROCEDURAL HISTORY

      This motion arises out of an intellectual property case pending in the United

States District Court for the Northern District of Illinois. (See Doc. 1-1 at 2; Doc.

1-7). That lawsuit involves patent, trademark, and trade dress infringement claims

brought by O2Cool, which alleges that products made by Techtronic Industries

North America, Inc. and distributed by One World Technologies, Inc. infringe

upon its own trademarks, trade dress, and patents. (See id.).

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      On January 6, 2016, Plaintiff served a third party subpoena on Home Depot

U.S.A., Inc. (“Home Depot”) (see generally Doc. 1-2; Doc. 1-3), requesting

documents, including electronically stored information (“ESI”), relevant to

Plaintiff’s infringement claims.1 Home Depot’s objections, filed on January 19,

2016, included an objection to Plaintiff’s demand “to the extent it calls for any

trade secrets or any confidential, proprietary, or competitively sensitive

information,” and an objection to Plaintiff’s demand for “information that is not

relevant to the claims or defenses in the above-styled action.” (Doc. 1-4 pg. 1-2 at

¶¶ 7, 8).     The underlying case is proceeding under a Protective Order

“automatically entered” by the presiding district court in patent litigation matters.2

(Doc. 1-1 at 17).

      Shortly after receiving the subpoena, Home Depot notified Plaintiff that

searches with the agreed-upon search terms repeatedly turned up non-discoverable

documents that were “not responsive,” irrelevant, unreadable, or “highly

confidential.”3 (See Docs. 1-10; 7-2; 7-4). One of Home Depot’s central concerns


1
  In March 2016, Plaintiff amended the subpoena, to which Home Depot made
further objections. (See generally Doc. 1-8).
2
   The protective order protects both parties and nonparties from harmful
disclosures of confidential information by allowing them to designate documents
produced in response to subpoenas with increasing categories of confidentiality.
(See Doc. 1-1 at 17).
3
  The parties are proceeding under a local rule of procedure in the Northern District
of Illinois, Local Procedure Rule 2.6, which allows parties to negotiate the search
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was the potential for revealing sensitive information about its suppliers to the

parties in this case, who happen to be direct business competitors with those

suppliers. (Doc. 7-1 at 12). Plaintiff communicated to Home Depot’s counsel that

it considered all the information turned up by the search terms “responsive,” and

therefore discoverable, (Doc. 1-11), and that any concerns about proprietary

information were resolved by the parties’ existing protective order. (Doc. 1-1 at

17).   By August 29, 2016, Home Depot had “produced 1,616 of the 1,874

documents” Plaintiff requested under the ESI protocol, (Doc. 7-1 at 5). However,

in doing so, Home Depot has made various redactions to protect information it

represents is commercially sensitive. (Id. at 5).

       The parties continued to negotiate about the scope of the data set being

produced by Plaintiff’s requested search terms. (See Doc. 1-9 at 2-3; Doc. 7-2 at

2-3; Doc. 7-3 at 2-3; 7-4 at 2; 7-5 at 2-4; 7-6 at 2). They specifically disagreed on

whether Home Depot had complied with the ESI protocol rule in conducting

reviews for responsiveness of the documents turned up by the search protocol.

(Doc. 1-1 at 7). Consequently, Plaintiff filed this Motion To Compel A Complete

Response To The Subpoena Directed To The Home Depot on August 11, 2016, in

which it requested an Order from this Court compelling Home Depot to produce



terms to apply to a producing party’s search for ESI in its internal database. (See
Doc. 1-1 at 5).
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the documents requested in the Subpoena without reviewing them for

responsiveness after the initial ESI search, and without redacting information from

them. (See generally Doc. 1-1). Home Depot responded in opposition to the

motion, contending that its processes complied with the subpoena. (Doc. at 6-12).

With briefing complete, the undersigned now turns to the merits of the motion.

                                   DISCUSSION

   I.     Standards Applicable to Motion to Compel Production of Documents
          Pursuant to Subpoena

        Federal Rule of Civil Procedure 45 governs production of documents by a

non-party pursuant to a subpoena duces tecum.          A non-party commanded to

produce documents “may serve on the party or attorney designated in the subpoena

a written objection” to producing the documents requested.          FED. R. CIV. P.

45(d)(2)(B).    If that occurs, as is the case here, the serving party may then “move

the issuing court for an order compelling production or inspection.” FED. R. CIV.

P. 45(d)(2)(B)(i).

        The scope of permissible discovery under Rule 45 is the same as that set

forth under Rule 26(b)(1) and Rule 34. See Dering v. Serv. Experts Alliance LLC,

Civil Action No. 1:06-CV-00357-RWS2007, 2007 U.S. Dist. LEXIS 89972, at *6

(“[T]he scope of subpoenas for production of documents pursuant to Rule 45 ‘is

the same as the scope of discovery under Rule 26(b) and Rule 34.’ ”) (quoting


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Commissariat a L’Energie Atomique v. Samsung Elec. Co., No. 8:06-mc-44-T-

30TBM, 2006 U.S. Dist. LEXIS 39217, at *4 (M.D. Fla. June 14, 2006)). This

means that a party may use a Rule 45 subpoena to gather “discovery regarding any

non-privilege[d] matter that is relevant to any party’s claim or defense.” FED. R.

CIV. P. 26(b)(1). Even with this broad standard, however, the proponent of a

motion to compel discovery must still satisfy its “initial burden of proving that the

information sought is relevant.” Diamond State Ins. Co. v. His House, Inc., No.

10-20039-CIV, 2011 U.S. Dist. LEXIS 5808, at *5 (S.D. Fla. Jan. 18, 2011)

(quoting Peacock v. Merrill, No. CA 05-0377-BH-C, 2008 U.S. Dist. LEXIS 3751,

at *8 (S.D. Ala. Jan. 17, 2008)).

      Finally, when seeking discovery through a motion to compel under Rule 45,

the moving party is “not entitled to receive every piece of irrelevant information in

responsive documents if the producing party has a persuasive reason for why such

information should be withheld.” In re Takata Airbag Prods. Liab. Litig., 2016

U.S. Dist. LEXIS 46206, at *143 (N.D. Feb. 29, 2016). Even when litigation is

proceeding under a protective order, the protection of competitively sensitive

information that is irrelevant to the litigation is a persuasive reason for withholding

sought after information. See id. However, a court may compel the production of

competitively sensitive data that could contain “highly relevant information” to the

litigation. Id. at *144.

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   II.      Analysis of Plaintiff’s Motion

         Since Plaintiff filed its motion, the issues over which the parties disagree

have shifted somewhat. Initially, Plaintiff insisted that Home Depot “produce all

non-privileged documents responsive to the search terms agreed to by the parties

arising from the subpoenas[.]” (Doc. 1-1 at 18). Since Home Depot produced its

privilege log, Plaintiff’s chief remaining contention is that Home Depot’s

redactions to documents produced in compliance with the Subpoena are improper

because the parties’ protective order renders them unnecessary. (Doc. 1-1 at 16,

17; Doc. 8 at 6). Home Depot responds that it has “fully complied with the

Subpoena,” and that its redactions properly limit “irrelevant, competitively

sensitive information” (Doc. 11 at 2), and that revealing information in its

redactions, even to the parties allowed under the protective order, would disclose

“competitively sensitive information concern[ing] Home Depot’s costs and

margins for other competitors’ products” to competing suppliers involved in this

litigation. (Doc. 7 at 12). The Court agrees with Home Depot’s position for

several reasons.

         First, Plaintiff has not satisfied its initial burden of showing that the

unredacted versions of Home Depot’s documents are relevant to this litigation.

Though Plaintiff repeatedly argues that the redactions are unnecessary, it does not

point to any reason why the type of information Home Depot has redacted is

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relevant and thus within the scope of discovery. (Doc. 8 at 6). Home Depot has

invited Plaintiff on multiple occasions to view unredacted examples of documents,

(see Docs. 7-3 at 2; 7-4 at 2), but Plaintiff has failed to take Home Depot up on its

many offers, instead insisting only that the redactions be removed entirely. (Doc. 8

at 6).

         Further, Home Depot has provided a persuasive reason for its redactions

even in light of the existing protective order: that the documents Plaintiff seeks

under the subpoena contain competitively sensitive information potentially harmful

to its other suppliers, who in some cases are direct competitors to the parties

involved in this litigation. (See Doc. 7-3 at 3). See In re Takata Airbag Prods.

Liab. Litig., 2016 U.S. Dist. LEXIS 46206, at *144 (noting that a moving party

under Rule 45 may not compel competitively sensitive information even where the

parties are proceeding under a protective order and the information sought is

contained within arguably responsive documents).

         Plaintiff has given no indication as to why information contained in Home

Depot’s redactions is discoverable. Merely arguing that Home Depot’s redactions

are unnecessary in light of the protective order is simply not enough to outweigh

Home Depot’s persuasive reason for redacting competitively sensitive information.

Further, in light of Plaintiff’s failure to carry its initial burden of showing

relevancy of the information Home Depot has redacted despite having access to

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unredacted examples, Plaintiff naturally fails to show that the redacted information

is “highly relevant” to this litigation. See In re Takata, 2016 U.S. Dist. LEXIS

46206, at *144 (allowing discovery of competitively sensitive discovery data

where the court found it “could contain highly relevant information . . . in

resolving the issues at hand”). Plaintiff’s repeated contentions that the redactions

are improper, unnecessary, and should be entirely removed fail to provide a

concrete reason for the redacted information’s relevancy to this case. (See Doc. 1-

10 at 2; Doc. 8 at 6).

      Because Home Depot has provided a persuasive reason for why it has

redacted the information Plaintiff seeks, and because Plaintiff has failed to show

why that information could otherwise be “highly relevant,” the undersigned refuses

to compel Home Depot to remove its redactions to the documents it has produced

to Plaintiff. Plaintiff’s motion to compel is therefore DENIED.

                                    CONCLUSION

      Plaintiff’s Motion To Compel A Complete Response To The Subpoena

Directed To The Home Depot (Doc. 1) is DENIED.

      IT IS SO ORDERED this 19th day of September, 2016.

                                       /s/ J. CLAY FULLER
                                      J. CLAY FULLER
                                      United States Magistrate Judge



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